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   6
   7
   8
   9
                                  UNITED STATES DISTRICT COURT
  10
                                            SOUTHERN DISTRICT
  11
          HELIX ENVIRONMENTAL                             Case No.: 3:18-cv-02000-AJB-NLS
  12      PLANNING, INC., a California
          corporation,
  13                                                      PLAINTIFF’S OPPOSiTION TO
                                                          DEFENDANT’S NOTICE OF
  14                           Plaintiff,                 MOTION AND MOTION TO SET
  15                                                      ASIDE DEFAULT
               vs.
  16
                                     Judge: Hon. A.J. Battaglia
  17      HELIX ENVIRONMENTAL AND Courtroom: 4A
          STRATEGIC SOLUTIONS, a
  18      California corporation,    Date: May 30, 2019
                                     Time: 2:00pm
  19                      Defendant.
  20
  21
  22
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       Plaintiff’s Response to Defendant’s Notice of Motion and Motion to Set Aside Default Judgment
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   1                                       I.      INTRODUCTION
   2           Plaintiff Helix Environmental Planning, Inc. (“Plaintiff”) respectfully
   3   submits this Opposition to the Notice of Motion and Motion to Set Aside Default
   4   filed by Helix Environmental and Strategic Solutions (“Defendant”). Plaintiff
   5   Helix filed this action because Defendant has sold services identical or similar to
   6   Helix’s services using Helix’s service mark. [See Complaint, ¶ 24.] Helix has
   7   used its trademark HELIX ENVIRONMENTAL PLANNING in commerce since
   8   1991 and has had a valid federal registration for it since June 19, 2018.
   9   [Complaint, ¶¶ 8, 22.] Defendant uses the deceptively similar name “Helix
  10   Environmental and Strategic Solutions” to advertise, market, offer, and sell
  11   environmental consulting services that are similar or identical to Plaintiff’s
  12   services. [Complaint, ¶ 31.]
  13           Before filing the Complaint on August 27, 2018, Plaintiff notified
  14   Defendant of Defendant’s infringing activities several times and kindly asked
  15   Defendant to stop using the phrase “Helix Environmental,” without any threat of
  16   legal action. [Complaint, ¶ 44.] Defendant’s refusal to stop using Plaintiff’s
  17   protected phrase prompted Plaintiff to file suit, in order to enjoin Defendant from
  18   capitalizing on Plaintiff’s goodwill in its service mark. Defendant had the ability
  19   and opportunities to file an Answer or other responsive pleading, thirty (30) days
  20   beyond the sixty (60) day period given by statute. [Docket No. 7-1, at 1.] When
  21   it became clear that Defendant would not respond, Plaintiff’s counsel gave
  22   Defendant ten days’ notice of its intent to file for default judgment on January 18,
  23   2019. [See Decl. Eastman, Docket No. 5-2, para. 10.] By Defendant’s own
  24   admission, Defendant failed to respond to that notification until January 18, 2019,
  25   when the time to respond passed Plaintiff’s counsel had already set in motion the
  26   request for entry of default from the Court Clerk. [Docket No. 9-1, at 2.]
  27   Defendant wholly failed to participate in the litigation process until it filed its
  28

       Plaintiff’s Opposition to Defendant’s Motion to Set Aside Entry of Default Judgment
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   1   Motion to Set Aside Default, which it filed nearly three weeks later on February 7,
   2   2019. [See Docket No. 9-1.]
   3           Defendant justifies its failure to participate by claiming that it believes it
   4   was absolved it of its obligation to respond to a formal court proceeding due to
   5   ongoing negotiations between the parties. [Docket No. 9-1, at 3.] For about
   6   sixteen months, from September 2017 through January 2019, Plaintiff gave firm,
   7   repeated requests from Plaintiff for Defendant to stop using Plaintiff’s mark. [See
   8   Decl. Elizabeth Donavan ¶¶ 1,6,8,10; Decl. Gary Eastman ¶¶ 3,6,7.] Defendant
   9   made superficial offers to alleviate consumer confusion without stopping its use of
  10   Plaintiff’s mark, such as website disclaimers stating that Defendant is not
  11   affiliated with Plaintiff. [Decl. Elizabeth Donavan ¶9.] However those offers
  12   failed to address Plaintiff’s chief concern of trademark infringement. Plaintiff
  13   repeatedly declined Defendant’s settlement offers, stating that the only way to
  14   resolve the issue was for Defendant to stop using the trademark. [See Decl.
  15   Elizabeth Donavan ¶ 10; Decl. Gary Eastman ¶ 13.]
  16           Although Plaintiff extended every courtesy and even gave Defendant extra
  17   time to either respond to the Complaint or cease the infringing activity, this did
  18   not constitute an explicit or implicit promise of reaching a settlement. Rather,
  19   these delays in filing for default judgment were done “[a]s a courtesy to the
  20   Defendant, and in an effort to minimize the expense of litigation.” [Docket No. 7-
  21   1, at 1.] Defendant knew as early as November 16, 2017, more than one year
  22   before default was entered, that nothing short of stopping its use of the trademark
  23   would address Plaintiff’s concerns. [See Decl. Elizabeth Donavan ¶8.] After that,
  24   Defendant’s repeated requests to extend or continue negotiations were just stall
  25   tactics; bad-faith efforts to continue its willful infringing activities while
  26   capitalizing on Plaintiff’s goodwill, and avoid a lawsuit without having to abide
  27   by the laws prohibiting trademark infringement.
  28

       Plaintiff’s Opposition to Defendant’s Motion to Set Aside Entry of Default Judgment
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   1           Therefore, Plaintiff requests that this Court grant Plaintiff’s Motion for
   2   Entry of Default Judgment Against Defendant Helix Environmental and Strategic
   3   Solutions.
   4
   5
   6                                          II.      ARGUMENT
   7           Defendant argues that entry of default for Plaintiff should be set aside for
   8   “good cause” under Federal Rule of Civil Procedure 55(c). [Docket 9-1, at 3.]
   9   “Good cause” under Rule 55(c) can be satisfied by the same criteria as those in
  10   Rule 60(b) relating to relieving a party from a final judgment. Franchise Holding
  11   II, LLC v. Huntington Restaurants Grp., Inc., 375 F.3d 922, 926 (9th Cir. 2004).
  12   Defendant advances five arguments as to why good cause exists to set aside
  13   default: (1) Plaintiff’s counsel engaged in fraudulent misconduct by mispresenting
  14   to Defendant that the parties were engaged in settlement discussions that did not
  15   require Defendant’s response to the Complaint; (2) Defendant’s failure to respond
  16   to the Complaint was attributable to Defendant’s own excusable neglect, in light
  17   of Plaintiff’s representations that default would not be entered pending the parties’
  18   settlement discussions; (3) Defendant engaged in no culpable conduct; (4)
  19   Defendant has meritorious defenses to trademark infringement; and (5) Plaintiff
  20   would not be prejudiced by an adjudication on the merits. None of these
  21   arguments is persuasive; therefore, this Court should grant Plaintiff’s Motion for
  22   Entry of Default Judgment.
  23
  24   A.      Plaintiff’s Counsel Engaged in No Misrepresentation, as Filing for
  25   Default was Consistent with Plaintiff’s Ongoing Insistence that Defendant
  26   Discontinue Its Infringement of Plaintiff’s Mark
  27
  28

       Plaintiff’s Opposition to Defendant’s Motion to Set Aside Entry of Default Judgment
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   1           Under Rule 60(b), a judgment may be set aside due to fraud,
   2   misrepresentation, or misconduct by an opposing party. Fed. R. Civ. P. 60(b).
   3   However, Plaintiff did not engage in fraud, misrepresentation, or misconduct, as
   4   Defendant alleges. Defendant suggests that Plaintiff intentionally coaxed
   5   Defendant into a false sense of complacency through a “false promise of a
   6   compromise.” [Docket 9-1, at 4, citing United States v. Throckmorton, 98 U.S.
   7   61, 65 (1878).] Defendant emphasizes the Rule 4(b) service waiver that granted
   8   Defendant sixty (60) days to “further discussions of the resolution of the matter
   9   without your client having to file an Answer or otherwise respond.” [See Docket
  10   No. 4; Arledge Decl. Ex. 2, at 5.] The sixty-day extension was just that, an
  11   extension. It was not an absolute promise to resolve the matter out of court, but
  12   rather an incentive for Defendant to agree to stop using Plaintiff’s mark so that
  13   Plaintiff could drop the lawsuit. The parties did not reach an agreement within the
  14   sixty-day period nor was any additional extension agreed to or sought from the
  15   court, thus requiring Defendant to formally respond to the Complaint by the Rule
  16   4 deadline.
  17
               Plaintiff did not “[cause] or [invite] uncertainty about its willingness to
  18
       negotiate a settlement,” as Defendant suggests. [Docket 9-1, at 6.] Considering
  19
       Plaintiff never wavered from its position that Defendant was infringing Plaintiff’s
  20
       trademark, Defendant could not have been caught by surprise when the
  21
       negotiations failed. [Decl. Elizabeth Donavan ¶ 10; Decl. Gary Eastman ¶ 6-9.]
  22
       There were no negotiations that were steadily moving forward, as Defendant
  23
       asserts - the parties were at a stalemate: Plaintiff insisted that Defendant stop
  24
       using the trademark, and Defendant refused. [Docket 7-1, at 12.] Far from
  25
       intentionally misleading Defendant, Plaintiff even formally notified Defendant of
  26
       the status of the negotiations in a clear and unequivocal letter sent to Defendant’s
  27
       counsel a full ten days before filing for entry of default judgment. [See Decl.
  28

       Plaintiff’s Opposition to Defendant’s Motion to Set Aside Entry of Default Judgment
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   1   Eastman, Docket No. 5-2, para. 10.]1 Thus, Plaintiff’s counsel did not
   2   fraudulently mislead Defendant into believing that there would be an impending
   3   settlement relieving Defendant of its legal obligation to respond to a formal court
   4   proceeding.
   5
       B.      Defendant’s Failure to Respond to the Complaint Was Attributable to
   6
       Defendant’s Own Inexcusable Neglect
   7
               A motion to set aside default can be set aside on the basis of the defendant’s
   8
       “excusable neglect.” Franchise Holding II, 375 F.3d at 927. Defendant
   9
       acknowledges that it may have simply neglected to respond to the lawsuit at the
  10
       appropriate time. [Docket 9-1, at 5-6.] The issue is whether Defendant’s neglect
  11
       was “excusable” such that the Court still should set aside Plaintiff’s motion for
  12
       default judgment.
  13
               The United States Supreme Court laid out four factors to determine whether
  14
       a party’s neglect is “excusable”: (1) danger of prejudice to the [opposing party];
  15
       (2) length of delay and potential impact on judicial proceedings; (3) reason for the
  16
       delay; and (4) whether the [party] acted in good faith. Pioneer Inv. Servs. Co. v.
  17
       Brunswick Assocs. Ltd. Partnership, 507 U.S. 380, 395 (1993).
  18
               Because factors one, two, and four strongly favor Plaintiff, and the
  19
       relatively short length of delay (factor three) should not automatically preclude
  20
       default judgment given Defendant’s bad faith in delaying action, this Court should
  21
       grant Plaintiff’s motion for entry of default judgment.
  22
            1. Setting Aside Entry of Default Would Prejudice Plaintiff
  23
               There is a danger of prejudice to Plaintiff if its entry of default is set aside.
  24
       When a trademark is infringed, the harm to the Plaintiff is ongoing because
  25
       consumers will continue to confuse the Plaintiff’s and Defendant’s brands until
  26
  27   1
         FRCP 55 does not require notice be given to a defendant that has not appeared in the case.
  28   Nevertheless, Plaintiff’s counsel gave advanced, clear notice any negotiations had failed, and
       clearly set forth its intent to file for default to protect Plaintiff’s rights, and when it would do so.
       Plaintiff’s Opposition to Defendant’s Motion to Set Aside Entry of Default Judgment
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   1   the Defendant discontinues the unauthorized trademark use. This diminishes
   2   Plaintiff’s goodwill in a way that is difficult to later compensate for in monetary
   3   damages. Courts in fact contemplate that the harm caused by trademark
   4   infringement can be irreparable, which is why courts will often grant preliminary
   5   injunctions enjoining infringers before the lawsuit has concluded. See, e.g.,
   6   GoTo.com, Inc. v. Walt Disney Co., 202 F.3d 1199, 2019 (9th Cir. 2000)
   7   (affirming grant of preliminary injunction in a trademark infringement case);
   8   Brookfield Commuc’ns, Inc. v. W. Coast Ent’mt Corp., 174 F.3d 1036, 1056–57
   9   (9th Cir. 1999) (reversing lower court’s denial of preliminary injunction).
  10           Here, Plaintiff’s goodwill has suffered since Defendant began using
  11   Plaintiff’s phrase “Helix Environmental” on or around February 8, 2016.
  12   [Complaint, ¶ 24.] After first giving Defendant several opportunities to stop the
  13   infringement without resorting to legal action, Plaintiff filed the Complaint on
  14   August 27, 2018. [Complaint, ¶ 44.] The harm has continued throughout the time
  15   Defendant delayed in responding to the Complaint, prompting Plaintiff to file for
  16   entry of default judgment to protect its intellectual property. Defendant has
  17   already prejudiced Plaintiff by delaying the proceedings in not responding to the
  18   Complaint within the sixty-day period. Setting aside default and starting litigation
  19   at this late stage would only cause further, irreparable harm to Plaintiff’s brand
  20   until the infringement can be stopped.
  21        2. Defendant’s Delay Was Intentional and Avoidable
  22           The relatively short length of the Defendant’s delay should not preclude
  23   entry of default judgment. Although Defendant involved itself in the litigation a
  24   few weeks after the December 24, 2018 court deadline, it only became involved in
  25   response to Plaintiff’s obtaining entry of default judgment. That action does not
  26   change Defendant’s pattern of evading the lawsuit. Defendant’s unexcused delays
  27   are simply an elaborate game of “chicken” intended to force Plaintiff into action
  28

       Plaintiff’s Opposition to Defendant’s Motion to Set Aside Entry of Default Judgment
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    1   and expense, while Defendant merrily continues to enjoy the benefits of its willful
    2   trademark infringement – a situation that Plaintiff cannot tolerate further.
    3        3. Defendant Had the Ability and Control to Respond
    4           Defendant’s reasons for delaying the proceedings are inexcusable. Default
    5   judgment may be set aside if there was a legitimate reason for the delay,
    6   particularly one that was not within the “reasonable control” of the party seeking
    7   to set aside default. Pioneer, 507 U.S. at 395. Defendant claims that it failed to
    8   respond due to its “mistaken understanding of the status of [the] parties’
    9   settlement discussions.” [Docket 9-1, at 6.] Defendant has previously made
   10   good-faith attempts to negotiate by offering to add disclaimers to its website and
   11   offering to stop using the standalone phrase “Helix Environmental.” [Decl.
   12   Elizabeth Donavan.] But in response to those offers, Plaintiff had steadfastly
   13   communicated to Defendant that Plaintiff would only be willing to settle the case
   14   if Defendant agreed to stop using Plaintiff’s mark altogether. [Decl. Elizabeth
   15   Donovan ¶¶ 6,8,10; Decl. Gary Eastman ¶¶ 6,7.]
   16           Even if, despite this, Defendant were genuinely mistaken as to the direction
   17   of the discussions, the condition of the Rule 4(b) waiver was that Defendant
   18   needed to respond to the lawsuit by December 24, 2018 if no settlement was
   19   reached by that date. [See Docket No. 4.] It was fully within Defendant’s control
   20   to choose whether or not to respond to the lawsuit; in fact, Plaintiff’s counsel sent
   21   Defendant’s counsel ten days’ advance notice to either stop using the trademark or
   22   respond to the Complaint, or else Plaintiff would file for default judgment.
   23   Clearly Plaintiff’s letter of January 8, 2019 removed all doubt as to failed
   24   settlement, Plaintiff’s demands, and imminent default.
   25           Defendant knowingly risked default judgment by failing to take advantage
   26   of the final opportunity to respond. Moreover, even if Defendant mistakenly
   27   believed that its hope of achieving a future settlement excused it from responding
   28   to the Complaint, “inadvertence, ignorance of the rules, or mistakes construing the

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    1   rules do not usually constitute ‘excusable’ neglect.” Pioneer, 507 U.S. at 395.
    2   Therefore, Defendant’s failure to respond to the Complaint within the time period
    3   was inexcusable.
    4        4. Defendant Acted in Bad Faith by Neglecting to Respond
    5           Defendant acted in bad faith by purposefully failing to respond to the
    6   Complaint until default was entered and it was faced with the prospect of default
    7   judgment. Because attempted negotiations had been unproductive, and had
    8   reached an impasse, Defendant should not have delayed in filing an Answer or
    9   other responsive pleading. Given that the parties were not positioned to reach an
   10   agreement, Defendant’s delays appear to be a tactic to unnecessarily prolong the
   11   proceedings while continuing to infringe and harm the valuable goodwill in
   12   Plaintiff’s mark.
   13
   14   C.      Defendant Engaged in Culpable Conduct
   15           A motion for default judgment should not be set aside if the defendant
   16   engaged in culpable conduct leading to the entry of default. Franchise Holding II,
   17   375 F.3d at 926. Culpable conduct, which is closely related to inexcusable
   18   neglect, exists when the defendant “has received actual or constructive notice of
   19   the filing of the action and failed to answer.” Franchise Holding II, 375 F.3d at
   20   926–27 (quoting Meadows v. Dominican Republic, 817 F.2d 517, 521 (9th Cir.
   21   1987)). In Franchise Holding, the Ninth Circuit declined to set aside default
   22   judgment, concluding, “The entry of default and the default judgment were
   23   squarely within [Defendant’s] control. [Defendant] received actual notice of both
   24   the action and [Plaintiff’s] intent to pursue it. [Defendant] nevertheless failed to
   25   file an extension or anything else with the district court until [Plaintiff] began to
   26   collect on the default judgment.” Id. at 927. This explanation summarizes what
   27   happened in our case. As discussed with respect to excusable neglect, Defendant
   28   does not dispute that it had actual notice of the lawsuit, shown by how it agreed to

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    1   a Rule 4(b) waiver of service of summons. [See Docket No. 4.] Further,
    2   Defendant was aware of Plaintiff’s intent to pursue the action, exemplified by how
    3   Plaintiff announced its intent to file for default judgment ten days in advance of
    4   doing so. [See Decl. Eastman, Docket No. 5-2, para. 10; Decl. Arledge Doc. No.
    5   12-1 ¶ 8.]
    6           In spite of this, Defendant did not file an extension or any other pleading
    7   with the Court until after default was entered. Still, Defendant creatively seeks to
    8   project blame on Plaintiff, alleging that Plaintiff contributed to the delay by asking
    9   for the 4(b) waiver, “with the express goal that the parties have additional time to
   10   discuss alternatives to litigation.” [Docket No. 9-1, at 7.] Plaintiff was within its
   11   right to try to encourage Defendant to stop the infringement before resorting to
   12   litigation, through a mutually agreed upon extension authorized by Fed. R. Civ. P.
   13   4(b). But as Plaintiff repeated communicated throughout the parties’ discussions,
   14   the only alternative to litigation was for Defendant to stop using Plaintiff’s
   15   trademark. [Decl. Elizabeth Donavan ¶¶ 6,8,10; Decl. Gary Eastman ¶¶ 6,13.]
   16   Defendant knew that it was required to respond to the Complaint if an agreement
   17   was not reached by December 24, 2018, and it was aware of Plaintiff’s intent to
   18   file for default judgment if Defendant did not comply. Defendant engaged in
   19   culpable conduct by knowingly ignoring the legal procedures attendant with being
   20   named as a defendant in a lawsuit.
   21
   22   D.      Defendant Has No Meritorious Defenses to Infringement
   23           A motion for default may be set aside if the defendant can establish
   24   meritorious defenses to the plaintiff’s cause of action. Franchise Holding II, 375
   25   F.3d at 926. Defendant alleges that it has two meritorious defenses to trademark
   26   infringement: trademark unenforceability and absence of likely confusion.
   27   Because both asserted defenses lack merit, the Court should not set aside entry of
   28   default.

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    1            1.     Plaintiff’s Trademark Is Enforceable
    2            Defendant argues that Plaintiff’s mark HELIX ENVIRONMENTAL
    3   PLANNING has little or no protection because “Helix” is a geographic term.
    4   [Docket No. 9-1, at 6.] Plaintiff’s trademark is registered on the Principal
    5   Register. [Complaint, Exhibit A.] Registration on the Principal Register is prima
    6   facie evidence of the mark’s validity. 15 U.S.C. § 1057(b). But notwithstanding
    7   this presumption of validity, even terms that are “primarily geographically
    8   descriptive” can be recognized as trademark if they are “distinctive of the
    9   applicant’s goods in commerce.” 15 U.S.C. §§ 1052(e)(2), (f).
   10            First, “Helix” is not primarily geographically descriptive of Plaintiff’s
   11   services. “The word ‘primarily’ should not be overlooked, for it is not the intent
   12   of the federal statute to refuse registration of a mark where the geographic
   13   meaning is minor, obscure, remote, or unconnected with the goods.” World
   14   Carpets, Inc. v. Dick Littrell’s New World Carpets, 438 F.2d 482, 486 (5th Cir.
   15   1971). Mount Helix is a mountain in San Diego County, and Plaintiff is
   16   headquartered in San Diego County. 2 [Complaint, ¶1.] However, San Diego’s
   17   Mount Helix neighborhood is not the only, or most obvious, connotation of the
   18   term “Helix”—“Helix” could also refer to the double-helix shape of DNA, or have
   19   a number of other scientific meanings. Plaintiff’s environmental focus is
   20   suggestive, and can evoke the DNA-related meaning, as DNA is a common
   21   symbol for science. A term with both geographic and non-geographic
   22   connotations can only be primarily geographically descriptive if the geographic
   23   meaning takes precedence in the minds of consumers. In re Int’l Taste, Inc., 53
   24   U.S.P.Q. 2d 1604 (T.T.A.B. 2000). Defendant’s trumped-up charade that the
   25   term HELIX is geographically descriptive simply fails when considering where
   26   Defendant is located – in Porter Ranch, California – far from any Mount Helix
   27
   28
        2
            See https://www.mthelixpark.org/.
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    1   neighborhood. Defendant uses HELIX – and since they are not anywhere near
    2   Mount Helix, it axiomatically cannot be geographically descriptive.
    3           In International Taste, the Trademark Trial and Appeal Board held that
    4   “Hollywood Fries” was not primarily geographically descriptive, because the term
    5   “Hollywood” could refer to the entertainment industry generally, as opposed to
    6   the city of Hollywood specifically. Id. Applied here, the word “Helix” does not
    7   conjure San Diego’s Mount Helix neighborhood for most consumers—especially
    8   those outside San Diego, as Plaintiff provides services throughout California and
    9   the western United States. [Complaint, ¶ 7.] Nor would a reasonable consumer
   10   believe that Plaintiff’s environmental consulting services derive specifically from
   11   Mount Helix, because consulting services are produced by humans and are not
   12   products of the environment. See In re Jacques Bernier, Inc., 894 F.2d 389, 391
   13   (Fed. Cir. 1990) (holding that a term is not primarily geographically descriptive if
   14   consumers would not reasonably associate the goods or services with the place
   15   named). Therefore, trademark registration was properly granted on the basis that
   16   “Helix Environmental Planning” is not primarily geographically descriptive.
   17           But second, even if the mark were primarily geographically descriptive,
   18   primarily geographically descriptive marks are still registrable with proof of
   19   secondary meaning, i.e. that the trademark is distinctive of the applicant’s goods
   20   in commerce. 15 U.S.C. § 1052(f). A trademark has secondary meaning when it
   21   has “come through use to be uniquely associated with a specific source.” Two
   22   Pesos, Inc. v. Taco Cabana, Inc., 505 U.S. 763, 763 (1992). Plaintiff has used the
   23   service mark HELIX ENVIRONMENTAL PLANNING continuously for 27
   24   years, since 1991. [Complaint, ¶ 47.] As a result, this trademark has come to be
   25   and is now recognized and relied on by the trade and the public as identifying
   26   Plaintiff’s services and business reputation. [Complaint, ¶¶ 17, 20.] Because
   27   HELIX ENVIRONMENTAL PLANNING has acquired ample secondary
   28

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    1   meaning to make it distinctive of Plaintiff’s services, it is enforceable as a
    2   trademark regardless of whether it might be primarily geographically descriptive.
    3           2.      Defendant’s Conduct Is Likely to Confuse Consumers
    4           Defendant also argues that there is no likelihood of confusion between the
    5   two companies, because the two companies are in different industries and because
    6   Plaintiff’s clients are sophisticated enough to not be confused. [Docket No. 9-1, at
    7   6.] Defendant’s asserted reasons are inaccurate.
    8           First, Plaintiff and Defendant are not in entirely different industries. Both
    9   companies provide environmental consulting services in Southern California.
   10   [Complaint, ¶¶ 7, 26.] Defendant counsels private businesses on how to comply
   11   with regulations of the federal Occupational Safety and Health Administration. 3
   12   Meanwhile, Plaintiff specializes in both state and federal environmental
   13   compliance, serving both public and private clients.4 Second, just because some
   14   of Plaintiff’s clients may be sophisticated does not eliminate the probability of
   15   confusion. Even sophisticated public agencies such as California Department of
   16   Transportation have experienced confusion between the two companies. [Decl.
   17   Gary Eastman ¶¶ 7,8.] Moreover, citing the sophistication of Plaintiff’s clients
   18   ignores the potential for reverse confusion, where Defendant’s less sophisticated
   19   clients could mistakenly contact Plaintiff. See Surfvivor Media Grp. v. Survivor
   20   Prods., 406 F.3d 625, 630 (9th Cir. 2005) (defining reverse confusion as instances
   21   where consumers intending to do business with the junior user are mistakenly led
   22   to the senior user). Ultimately, Defendant’s use of “Helix Environmental” to
   23   offer, advertise, and sell environmental consulting services in the same region as
   24   Plaintiff has caused, at minimum, a likelihood of confusion. [Complaint, ¶ 29.]
   25
   26
   27   3
         See Defendant’s website, www.helixenvironmental.com/.
        4
   28    See Plaintiff’s website, www.helixepi.com/services/ceqanepa-compliance-2/. See also
        Complaint, ¶ 7.
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    1   E.      Reopening the Default Judgment Would Prejudice Plaintiff
    2           A motion for default can sustained if setting aside default would prejudice
    3   the plaintiff. Franchise Holding II, 375 F.3d at 926. As discussed above with
    4   respect to excusable neglect, Plaintiff does not seek damages for a past harm;
    5   rather, the harm from trademark infringement is ongoing and continues to weaken
    6   Plaintiff’s goodwill for as long the infringement is allowed to continue. This is
    7   why Plaintiff’s unambiguous stance throughout settlement discussions has been
    8   that Defendant needs to stop using the term “Helix Environmental” in connection
    9   with environmental consulting services. Up to this point, Defendant has been
   10   unwilling to discontinue its use of Plaintiff’s mark but has ignored the legal
   11   consequence—that it is a named defendant in a trademark infringement lawsuit.
   12   Defendant’s failure to respond to the Complaint shows Defendant’s prerogative to
   13   avoid the situation for as long as possible, without offering a meaningful solution,
   14   while the Plaintiff’s harms continue to accrue. Due to the ongoing nature of
   15   Defendant’s infringement, setting aside default and proceeding to trial would
   16   severely prejudice Plaintiff.
   17
   18   F.      Sanctions Against Defendant Appropriate If Set Aside
   19           In addition to the clear harm being caused to Plaintiff’s goodwill due to
   20   Defendant’s ongoing infringement, Plaintiff has incurred significant legal fees and
   21   costs in the preparation and filing of the Request for Entry of Clerk’s Default, its
   22   Motion for Entry of Default Judgment, and defending Defendant’s Motion to Set
   23   Aside Default. Thus, should the court determine Defendant’s utter failure to take
   24   action despite its acknowledged deadlines and the clear notice by Plaintiff of the
   25   intent to default warrants a set aside of the Default, Plaintiff respectfully requests
   26   this court set a condition on setting aside default and award Plaintiff its attorney
   27   fees and costs related to Defendants neglect according to proof.
   28

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    1           "Even where the Court finds the merits in favor of setting aside an entry of
    2   default," the Court has discretion to condition setting aside the default "upon the
    3   payment of a sanction." Nilsson, Robbins et al. v. Louisiana Hydrolec, 854 F.2d
    4   1538, 1546-47 (9th Cir. 1988). By conditioning the setting aside of a default, the
    5   Court can rectify "any prejudice suffered by the non-defaulting party as a result of
    6   the default and the subsequent reopening of the litigation." Id. at 1546.
    7   Defendants neglect of its obligations in this case is inexcusable, and simply a
    8   blatant attempt to thwart Plaintiff’s efforts to police its mark while Defendant
    9   continues to benefit from the infringement of the HELIX ENVIRONMENTAL
   10   trademark. Should a set-aside be considered, an award of monetary sanctions for
   11   Plaintiff’s economic loss due to Defendant’s delay tactics and gamesmanship
   12   should be awarded to Plaintiff.
   13
   14                                         III.    CONCLUSION
   15           Plaintiff seeks no monetary damages in its motion for Default Judgment,
   16   only an injunction for Defendant to stop using its infringing mark and to transfer
   17   its infringing Internet domain name to Plaintiff. Although Plaintiff is certainly
   18   willing to defend its trademark at trial, this would only prolong Plaintiff’s harm,
   19   which will result in additional hardship on both parties to calculate the damages
   20   Plaintiff has suffered in the interim. Defendant could be responsible for additional
   21   damages as a result. Given Defendant’s inexcusable avoidance of the litigation,
   22   Defendant’s clear infringement of Plaintiff’s mark, and Plaintiff’s request for
   23   injunctive relief only, justice requires Plaintiff’s Motion for Entry of Default
   24   Judgment be granted.
   25           For the foregoing reasons, Plaintiff Helix Environmental Planning, Inc.
   26   respectfully requests the Court grant this motion for entry of default judgment
   27   against Defendant Helix Environmental and Strategic Solutions for trademark
   28   infringement under federal and California law, unfair competition under federal

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    1   and California law, and cybersquatting under the federal Anticybersquatting
    2   Consumer Protection Act. Plaintiff also requests the Court enter a permanent
    3   injunction against Defendant restraining it from using the term “Helix
    4   Environmental” in connection with environmental services; and order that
    5   Defendant relinquish all rights in the Internet domain name
    6   helixenvironmental.com and direct Domains By Proxy, LLC; GoDaddy.com,
    7   LLC; or any other party in position to do so, to transfer the Internet domain name
    8   to Plaintiff.
    9
   10
   11                                                     Respectfully submitted,
   12
   13   Dated: February 21, 2019
   14                                                     Eastman & McCartney LLP

   15                                                     By: /s/ Gary L. Eastman
   16                                                         Gary L. Eastman, Esq.
                                                              Attorney for Plaintiff
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                                           CERTIFICATE OF SERVICE
    1
    2           I, the undersigned certify and declare as follows:

    3          I am over the age of eighteen years and not a party to this action. My business address is
        401 West A Street, Suite 1785, San Diego, California, 92101, which is located in the county
    4
        where the service described below took place.
    5
                On February 21, 2019, at my place of business in San Diego, California, I served a copy
    6   of the following document:
    7
        PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO SET ASIDE DEFAULT
    8
        The undersigned hereby certifies that he caused a copy of the foregoing documents to be filed
    9   with the clerk of the U.S. District Court, Southern District of California, using the CM/ECF
   10   filing system, and a copy will be electronically mailed to the following recipients via ECF
        electronic service:
   11
        Chris Arledge, Esq.
   12
        One LLP
   13   4000 MacArthur Blvd, East Tower Ste. 500
   14   Newport Beach, CA 92660
   15   Attorney for Helix Environmental and Strategic Solutions
   16
   17         I certify and declare under penalty of perjury under the laws of the United States of
   18   American and the State of California that the foregoing is true and correct.

   19   Executed on February 21, 2019, in San Diego, California.
   20                                         By:         /s/ Gary Eastman
                                                          Gary Eastman
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